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 FIDELITY NATIONAL TITLE & ESCROW
 OF HAWAII, INC. and ROMMEL GUZMAN

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada                 ) CIVIL NO. 16-00347 JMS RLP
Limited Liability Company, et al.           )
                                            ) CERTIFICATE OF SERVICE
                     Plaintiffs,            )
                                            )
         vs.                                )
                                            )
ABNER GAURINO, et al.                       )
                                            )
                     Defendants.            )
                                            )

                             CERTIFICATE OF SERVICE

         The undersigned hereby certifies that true and correct copies of: 1)

DEFENDANTS FIDELITY NATIONAL TITLE & ESCROW OF HAWAII, INC.

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AND ROMMEL GUZMAN’S MOTION FOR SUMMARY JUDGMENT ON

ALL CLAIMS ASSERTED BY PLAINTIFFS AGAINST FIDELITY AND

GUZMAN IN THE FIRST AMENDED COMPLAINT [#30], FILED ON 5/8/17;

MEMORANDUM IN SUPPORT OF MOTION; DECLARATION OF WAYNE

NASSER; EXHIBITS “A”-“I”; CERTIFICATE OF SERVICE [#166], filed on

October 25, 2017; and 2) DEFENDANTS FIDELITY NATIONAL TITLE &

ESCROW OF HAWAII, INC. AND ROMMEL GUZMAN’S SEPARATE AND

CONCISE STATEMENT OF FACTS IN SUPPORT OF DEFENDANTS’

MOTION FOR SUMMARY JUDGMENT; CERTIFICATE OF SERVICE [#167],

filed on October 25, 2017, were duly served on October 26, 2017 on the following

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         DATED: Honolulu, Hawaii; October 26, 2017.

                                         /s/ Wayne Nasser
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                                           Hawaii, Inc. and Rommel Guzman
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